                                                    Exhibit A

                                    AP SERVICES, LLC
        Summary of Compensation and Expenses – Pacific Gas and Electric Company, et al.
                 For the Period November 1, 2019 through November 30, 2019

      Professional Fees                                                         $                   4,941,332.00
      Expenses                                                                                        461,592.85
      Total Invoice                                                             $                   5,402,924.85




      Note: In accordance with the Order Granting Fee Examiner’s M otion to Approve Fee Procedures in the
      PG&E Corporation and Pacific Gas and Electric Company chapter 11 cases, entered on November 15, 2019
      (the “Order”), this invoice is inclusive of compensation for fees associated with non-working airplane travel
      time incurred by AP Services, LLC professionals during the billing period. Per the Order, compensation is
      allowed in these cases for non-working airplane travel time up to two hours per professional per one-way
      trip. All fees associated with non-working airplane travel time incurred by AP Services, LLC professionals
      in excess of the two hour cap has been written off. The aggregate fees for excess non-working airplane travel
      time that has been absorbed by AP Services, LLC for the November 2019 billing period was $593,153.00.




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